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                           UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF NEW YORK

 In re Terrorist Attacks on September 11, 2001 03 MDL 1570 (GBD) (SN)
                                               ECF Case


This document relates to:
Ashton et al. v. al Qaeda Islamic Army, et al., 02-cv-6977 (GBD)(SN)
Betru et al. v. Islamic Republic of Iran, 18-cv-8297 (GBD)(SN)
      Motion to Substitute Parties Pursuant to Federal Rule of Civil Procedure 15(d)

       Pursuant to Federal Rules of Civil Procedure 15(d), Plaintiffs herein move the Court to

allow substitution of the parties as identified on Exhibit A in the above-referenced action. Each

individual being substituted into the case is the Personal Representative of the estate of an

individual killed on September 11, 2001 in the terrorist attacks (a “9/11 decedent”) or is the

Personal Representative of the estate of a now-deceased immediate family member of a 9/11

decedent.

       Exhibit A identifies the individuals to be substituted in the pleading, including the

capacity in which they seek to be substituted, state of residency at the time the complaint was

filed, the existing pleading that refers to the plaintiff, and the decedent for whose estate the

proposed substitute plaintiff is the duly-appointed Personal Representative.

       Should this Court grant the relief requested in the proposed Order, Plaintiffs will add the

substituted parties individually as named plaintiffs into the Court’s ECF system to ease the

burden on the Clerk of the Court’s Office.

Dated: January 6, 2023                                /s/ Andrew J. Maloney, III, Esq.
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